Case 2:05-cr-20160-.]DB Document39 Filed 07/01/05 PagelotZ Pa l 27

 

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uNlTED sTATEs oF AMERch, w;DOF m
Plaintiff,
vs. cn. No. 05-20160-01-5

PH|LL|P STAFFORD,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Monday, July 25l 2005, et 9:30 a.m., in Courtroom 1 11th Floor of the
Federal Building, Nlemphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T |S SO OFiDEFiED this 30 da fJ ne, 2005.

m d , J A IEL BREEN \
, S ocument entered on the dockets NlT D STATES DlSTRlCT JUDGE
with Flu|e 55 and/or 32(b) FFlCrP on

 

 

  

UNITED sTATE D"ISIC COURT - WESTER D's'TRCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
ease 2:05-CR-20160 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

